         Case 21-01469-JNP           Doc 10-4 Filed 04/20/22 Entered 04/20/22 13:02:31     Desc
                                         Proposed Order Page 1 of 3



              UNITED STATES BANKRUPTCY COURT
              DISTRICT OF NEW JERSEY
              Caption in Compliance with D.N.J. LBR 9004-1(b)
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              Counsel to the Official Committee of Unsecured
              Creditors


              In re:                                               Chapter 11
              ALUMINUM SHAPES, L.L.C.,
                                                                   Case No. 21-16520-JNP
                                        Debtor.




              ALUMINUM SHAPES, L.L.C.,                             Adv. Pro. No. - 21-01469-JNP
                                         Plaintiff,
                       v.
              EULER HERMES NORTH AMERICA INSURANCE
              CO., subrogee of NORTHEAST METAL TRADERS,
              INC.,


                                         Defendant.




132614508.1
            Case 21-01469-JNP          Doc 10-4 Filed 04/20/22 Entered 04/20/22 13:02:31                         Desc
                                           Proposed Order Page 2 of 3




            ORDER GRANTING THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
                    MOTION FOR AN ORDER APPROVING THE SETTLEMENT
                   BY AND BETWEEN THE COMMITTEE AND EULER HERMES

                The relief set forth on the following pages two (2) and three (3) is hereby ORDERED.



                Upon consideration of the motion of Plaintiff, the Official Committee of Unsecured

        Creditors (the “Committee”) of Aluminum Shapes, L.L.C. (the “Debtor”) for an order approving

        the settlement by and between the Committee and Euler Hermes North America Insurance Co.,

        subrogee of Northeast Metal Traders, Inc. (“Euler”) (the “Motion”) 1 and any response in

        opposition thereto; and after notice and opportunity to be heard on the Motion; it is hereby

                ORDERED as follows:

                             1. The Motion is GRANTED in its entirety;

                             2. The Settlement Agreement by and between the Committee and Euler

                attached hereto as Exhibit A is hereby APPROVED.

                             3. POC # is allowed and will be treated as a general unsecured claim in the

                amount of $172,876.78, pursuant to 11 U.S.C. § 506(a)(1);

                             4. No portion of POC #5 is allowed or will be treated as a secured claim. The

                entire claim will be allowed and treated as a general unsecured claim in the amount of

                $172,876.78;

                             5. POC #5 is hereby deemed an allowed general unsecured claim in the

                amount of $172,876.78 without the necessity of filing an amended proof of claim;




        1
         Capitalized terms used in this Order but not defined herein shall have the meanings ascribed to such terms in the
        Motion.

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132614508.1
         Case 21-01469-JNP       Doc 10-4 Filed 04/20/22 Entered 04/20/22 13:02:31                Desc
                                     Proposed Order Page 3 of 3



                         6. The Judgment and any Lien asserted by Euler is hereby avoided pursuant to

              11 U.S.C. §§ 502(d), 506(a)(1), 506(d), 544, and 547; and

                         7. Adversary Proceeding Number 21-01469-JNP is DISMISSED WITH

              PREJUDICE AND WITHOUT COSTS.

                         8. The Committee and Euler are authorized to take all actions necessary to

              effectuate and consummate the resolution contemplated by the Settlement Agreement, and

              the execution and delivery of any documents, agreements, or other instruments.

                         9. This Court shall retain jurisdiction to interpret and enforce the terms of the

              Settlement Agreement and this Order.




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